
698 S.E.2d 71 (2010)
HUBER ENGINEERED WOODS
v.
CANAL INS.
No. 168A10.
Supreme Court of North Carolina.
May 14, 2010.
Sidney S. Eagles, Jr., Raleigh, C. Fredric Marcinak, III, Greenville, SC, for Canal Insurance Company.
Richard S. DeGeorge, Charlotte, for Huber Engineered Woods, LLC.
The following order has been entered on the motion filed on the 19th of April 2010 by Robert D. Moseley, Jr. to be admitted Pro Hac Vice:
"Motion Allowed by order of the Court in conference this the 14th of May 2010."
